                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:15-cr-91
 v.                                             )
                                                )        Judge Travis R. McDonough
 NICHOLAS ROBINETTE                             )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Thirty-two of

 the thirty-two-count Indictment; (2) accept Defendant’s plea of guilty to Counts One and Thirty-

 two of the Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One and

 Thirty-two of the Indictment; (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find that Defendant shall remain in custody until sentencing in this matter.

 (Doc. 211.) Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 211) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Counts One and Thirty-two

                of the Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One and Thirty-two of the Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One



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             and Thirty-two of the Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until

             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on September 9, 2016 at 9:00 a.m. [EASTERN] before

             the undersigned.

 SO ORDERED.

 ENTER:

                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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